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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 VS.                                               §           CASE NO. 1:13-CR-19(2)
                                                   §
                                                   §
 EDUARDO SILVA                                     §
 a/k/a “Eddie”                                     §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the district court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 21, 2013, this case came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Eduardo Silva, to Count One of the Indictment.

 Count One alleges that from on or about 2003, the exact date being unknown to the Grand Jury, and

 continuing thereafter until February 6, 2013, in the Eastern District of Texas and elsewhere, Eduardo

 Silva and his co-defendants did knowingly and intentionally combine, conspire, confederate, and

 agree with each other and persons known and unknown to the Grand Jury to distribute and possess

 with intent to distribute five (5) kilograms or more of a mixture or substance containing a detectable

 amount of a Schedule II controlled substance, namely, cocaine HCL, in violation of 21 U.S.C. §

 841(a)(1) and 18 U.S.C. § 2, all in violation of 21 U.S.C. § 846.


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          The Defendant, Eduardo Silva, entered a plea of guilty to Count One of the Indictment into

 the record at the hearing. After conducting the proceeding in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

 verified that he understood the terms of the plea agreement, agreed to the Government’s summary

 of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of

 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

 particular terms of the plea agreement.1

           1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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         c.      That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crime charged under 21 U.S.C. § 846.

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Eduardo Silva is

 one and the same person charged in the Indictment and that the events described in the Indictment

 occurred in the Eastern District of Texas and elsewhere. The Government would also have proven,

 beyond a reasonable doubt, each and every essential element of the offense as alleged in Count One

 of the Indictment through the testimony of witnesses, including expert witnesses, and admissible

 exhibits. In support of the Defendant’s plea, the undersigned incorporates the proffer of evidence

 described in detail in the factual basis and stipulation, and the representations made by counsel for

 the Government at the hearing.

         The Defendant agreed with and stipulated to the evidence presented in the factual basis and

 agreed to the Government’s proffer. Counsel for the Defendant and the Government attested to the

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant agreed

 with the evidence presented by the Government and personally testified that he was entering his


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 guilty plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the Indictment. Accordingly, it is further

 recommended that the Defendant be finally adjudged guilty of the charged offense under Title 21,

 United States Code, Section 846, and the District Court should accept the plea agreement.

        The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of his

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620



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 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


        SIGNED this 21st day of November, 2013.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge




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